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                                    UNITED STATES DISTRICT COURT
                                     FOR THE Northern District of Texas
                                                 Dallas



                                                     )
USA                                                  )
        Plaintiff,                                   )
                                                     )
v.                                                   )     Case Number: 3:19−mj−01015−BT
                                                     )
David Cadena                                         )
       Defendant.                                    )


                         ORDER APPOINTING FEDERAL PUBLIC DEFENDER

        Based on the defendant's sworn Financial Affidavit and representations in open court, the

Court finds that the defendant is financially unable to obtain counsel. Pursuant to 18 USC § 3006A,

the Federal Public Defender for the Northern District of Texas is appointed as counsel of record for

the defendant for all proceedings, including any appeal.

        SO ORDERED ON 11/12/2019.




                                                           Irma Carrillo Ramirez
                                                           Magistrate Judge
